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UNITED STATES DISTRICT COURT

U
SOUTHERN DISTRICT OF TEXAS Southern Dee aS
_ HOUSTON DIVISION JAN 16 203
UNITED STATES OF AMERICA § POS eter, cate oun

19CR 036

CRIMINAL NO,

SEALED

6. CARLOS ARTURO SALAZAR-BENAVIDES §
aka Lazaro, aka Olimpo (Counts 1, 5-7, 12) §

INDICTMENT

THE GRAND JURY CHARGES:

COUNT ONE
[21 U.S.C. §963&959(a) - Conspiracy to Distribute
Controlled Substance for Purpose of Unlawful Importation]

From on or about January |, 2017, and continuing thereafter up to and including the date of this indictment,
in the Southern District of Texas, the Republics of Colombia, Guatemala and Panama, and elsewhere, and within

the jurisdiction of this court, the defendants,
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CARLOS ARTURO SALAZAR-BENAVIDES

did knowingly and intentionally combine, conspire, confederate and agree together and with persons known and
unknown to the Grand Jury, to commit offenses defined in Title 21, United States Code, Section 959(a), namely,
to distribute a controlled substance, which offense involved five (5) kilograms or more of a mixture or substance
containing a detectable amount of cocaine, a Schedule IJ controlled substance, intending, knowing and having
reasonable cause to believe that said cocaine would be unlawfully imported into the United States, all in violation
of Title 21, United States Code, Sections 959(a), 960(b)(1)(B) and 963.

COUNT TWO
[18 U.S.C. §1956(h) - Conspiracy to Launder Monetary Instruments]

From on or about February 1, 2017 and continuing thereafter up to and including the date of this
indictment, in the Southern District of Texas and the Republic of Guatemala and elsewhere, and within the

Jurisdiction of this Court, the defendants,

did knowingly, intentionally and unlawfully combine, conspire, confederate and agree together
and with persons known and unknown to the grand jury, to commit offenses against the United
States in violation of Title 18, United States Code, Section 1956, to wit:

(a) to transport, transmit and transfer and attempt to transport, transmit and transfer a monetary
instrument and funds from a place in the United States to and through a place outside the United
States, to wit: the Republic of Guatemala, with the intent to promote the carrying on of said

specified unlawful activity, in violation of 18 U.S.C. § 1956(a)(2)(A); and
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(b) to transport, transmit and transfer and attempt to transport, transmit and transfer a monetary
instrument and funds from a place in the United States to and through a place outside the United
States, to wit: the Republic of Guatemala, knowing that the funds involved in the transportation,
transmission, and transfer represented the proceeds of some form of unlawful activity and knowing
that such transportation, transmission, and transfer was designed in whole or in part to conceal and
disguise the nature, location, source, ownership, and contro] of the proceeds of said specified
unlawful activity, in violation of 18 U.S.C. §1956(a)(2)(B)(i).

All in violation of 18 U.S.C. §§§1956 (a)(2)(A) and (a)(2)(B)(i), and 1956(h).

COUNT THREE

[8 U.S.C, $1956 Laundering of Monetary Instruments]

From on or about February 16, 2017, in the Southern District of Texas, the Republic of

Guatemala, and elsewhere, and within the jurisdiction of this court, the defendants,

did knowingly and intentionally, aid, abet and assist each other to transport, transmit, and
transfer and attempt to transport, transmit and transfer a monetary instrument and funds from a
place in the United States to the Republic of Guatemala with the intent to promote the carrying
on a specified unlawful activity and knowing that the monetary instruments and funds involved
in the transportation, transmission and transfer represent the proceeds of some form of unlawful
activity and knowing that such transportation, transmission, and transfer was designed in whole
or in part to conceal and disguise the nature, the location, the source, the ownership, and the
control of the proceeds of said specified unlawful activity, all in violation of 18 U.S.C. §§1956
(a}(2)(A), (a)(2)(B)(i) and Title 18, United States Code, §2.

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COUNT FOUR
[21 U.S.C. §959(a) — International Cocaine Distribution: /

From on or about February 28, 2017, in the Southern District of Texas, the Republic of

Guatemala, and elsewhere, and within the jurisdiction of this court, the defendants,

did knowingly and intentionally aid, abet and assist each other to distribute a controlled substance,
which offense involved five (5) kilograms or more of a mixture or substance containing a
detectable amount of cocaine, a Schedule I] controlled substance, intending, knowing and having
reasonable cause to believe that said cocaine would be unlawfully imported into the United States,
all in violation of Title 21, United States Code, Sections 959(a) and 960(b)(1)(B) and Title 18,
United States Codec, Section 2.

COUNT FIVE
[21 U.S.C. §959(a) — International Cocaine Distribution]

From on or about April 21 through April 22, 2017, in the Southern District of Texas, the
Republics of Colombia and Panama, and elsewhere, and within the jurisdiction of this court, the

defendants,

CARLOS ARTURO SALAZAR-BENAVIDES

did knowingly and intentionally aid, abet and assist each other to distribute a controlled substance
which offense involved five (5) kilograms or more of a mixture or substance containing a
detectable amount of cocaine, a Schedule II controlled substance, intending, knowing and having

reasonable cause to believe that said cocaine woutd be unlawfully imported into the United States

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all in violation of Title 21, United States Code, Sections 959(a) and 960(b)(1)(B) and Title 18,

United States Code, Section 2.

COUNT SIX
[21 U.S.C. §959(a) — International Cocaine Distribution)

From on or about May 10 through May 19, 2017, in the Southern District of Texas, the

Republics of Colombia and Panama, and elsewhere, and within the jurisdiction of this court, the

defendants,

CARLOS ARTURO SALAZAR-BENAVIDES

did knowingly and intentionally aid, abet and assist each other to distribute a controlled substance,
which offense involved five (5) kilograms or more of a mixture or substance containing a
detectable amount of cocaine, a Schedule II controlled substance, intending, knowing and having
reasonable cause to believe that said cocaine would be unlawfully imported into the United States,
all in violation of Title 21, United States Code, Sections 959(a) and 960(b)(1)(B) and Title 18,
United States Code, Section 2.

COUNT SEVEN
[21 U.S.C. §959(a) — International Cocaine Distribution]

From on or about June 9, 2017, in the Southem District of Texas, the Republics of
Colombia and Panama and elsewhere, and within the jurisdiction of this court, the defendants,

CARLOS ARTURO SALAZAR-BENAVIDES

did knowingly and intentionally aid, abet and assist each other to distribute a controlled substance,

which offense involved five (5) kilograms or more of a mixture or substance containing a
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detectable amount of cocaine, a Schedule II controlled substance, intending, knowing and having
reasonable cause to believe that said cocaine would be unlawfully imported into the United States,
all in violation of Title 21, United States Code, Sections 959(a) and 960(b)(1)(B) and Title 18,

United States Code, Section 2.

COUNT EIGHT
[18 U.S.C. §1956 Laundering of Monetary Instruments

From on or about June 17, 2017, in the Southern District of Texas, the Republic of

Guatemala, and elsewhere, and within the jurisdiction of this court, the defendants,

did knowingly and intentionally, aid, abet and assist each other to transport, transmit, and
transfer and attempt to transport, transmit and transfer a monetary instrument and funds from a
place in the United States to the Republic of Guatemala with the intent to promote the carrying
on a specified unlawful activity and knowing that the monetary instruments and funds involved
in the transportation, transmission and transfer represent the proceeds of some form of unlawful
activity and knowing that such transportation, transmission, and transfer was designed in whole
or in part to conceal and disguise the nature, the location, the source, the ownership, and the
control of the proceeds of said specified unlawful activity,

All in violation of 18 U.S.C. §§1956 (a)(2)(A), (a)(2)(B)(i) and Title 18, U.S.C. §2,
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COUNT NINE
{21 U.S.C. §959(a) — International Cocaine Distribution]

From on or about August 3, 2017, in the Southem District of Texas, the Republics of

Colombia and Panama, and elsewhere, and within the jurisdiction of this court, the defendants,

did knowingly and intentionally aid, abet and assist each other to distribute a controlled substance,
which offense involved five (5) kilograms or more of a mixture or substance containing a
detectable amount of cocaine, a Schedule II controlled substance, intending, knowing and having
reasonable cause to believe that said cocaine would be unlawfully imported into the United States,
all in violation of Title 21, United States Code, Sections 959(a) and 960(b)(1)(B) and Title 18,
United States Code, Section 2.

COUNT TEN
[21 U.S.C. §959(a) — International Cocaine Distribution}

From on or about August 25, 2017, in the Southern District of Texas and the Republics of

Colombia and Panama and elsewhere, and within the jurisdiction of this Court, the defendants,

did knowingly and intentionally aid, abet and assist each other to distribute a controlled substance,
which offense involved five (5) kilograms or more of a mixture or substance containing a
detectable amount of cocaine, a Schedule !I controlled substance, intending, knowing and having

reasonable cause to believe that said cocaine would be unlawfully imported into the United States,

all in violation of Title 21, United States Code, Sections 959(a) and 960(b)(1)(B) and Title 18,
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United States Code, Section 2.

COUNT ELEVEN

(21 U.S.C. §959(a) — International Cocaine Distribstion]

From on or about August 29, 2017, in the Southern District of Texas and the
Republics of Colombia and Guatemala and elsewhere, and within the jurisdiction of this

Court, the defendant,

did knowingly and intentionally aid, abet and assist each other to distribute a controlled substance,
which offense involved five (5) kilograms or more of a mixture or substance containing a
detectable amount of cocaine, a Schedule II controlled substance, intending, knowing and having
reasonable cause to believe that said cocaine would be unlawfully imported into the United States,
al] in violation of Title 21, United States Code, Sections 959(a) and 960(b)(1)(B) and Title 18,

United States Code, Section 2.

COUNT TWELVE

[21 U.S.C. §959(a) — International Cocaine Distribution]

From on or about October 08, 2017, in the Southern District of Texas and the

Republics of Panama and Colombia and elsewhere, and within the jurisdiction of this Court,

the defendants,

CARLOS ARTURO SALAZAR-BENAVIDES

did knowingly and intentionally aid, abet and assist each other to distribute a controlled substance,

which offense involved five (5) kilograms or more of a mixture or substance containing a

detectable amount of cocaine, a Schedule II controlled substance, intending, knowing and having
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reasonable cause to believe that said cocaine would be unlawfully imported into the United States,
all in violation of Title 21, United States Code, Sections 959(a) and 960(b)(1)(B) and Title 18,
United States Code, Section 2.

COUNT THIRTEEN
[21 U.S.C. §959(a) — International Cocaine Distribution]

From on or about October 16, 2017, in the Southern District of Texas and the
Republic of Colombia and Panama and elsewhere, and within the jurisdiction of this Court,
the defendant,
Saat Aa eae Renae

did knowingly and intentionally aid, abet and assist each other to distribute a controlled substance,
which offense involved five (5) kilograms or more of a mixture or substance containing a
detectable amount of cocaine, a Schedule II controlled substance, intending, knowing and having
reasonable cause to believe that said cocaine would be unlawfully imported into the United States,
all in violation of Title 21, United States Code, Sections 959(a) and 960(b)(1)(B) and Title 18,
United States Code, Section 2.

NOTICE OF CRIMINAL FORFEITURE
21 U.S.C. § 853 and 970

Pursuant to Title 18, United States Code, Sections 853 and 970, the United States of

America gives notice to the defendants:

CARLOS ARTURO SALAZAR-BENAVIDES

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that in the event of conviction of an offense in violation of Title 21, United States Cade, Sections
959, 960, and 963, as charged in this Indictment, the following is subject to forfeiture:
(1) all property constituting, or derived from, any proceeds obtained, directly or
indirectly, from such violation; and
(2) all property used, or intended to be used, in any manner or Part, to commit, or to
facilitate the commission of, such violation.

NOTICE OF CRIMINAL FORFEITURE
18 U.S.C. § 982(a)(1)
Pursuant to Title 18, United States Code, Section 982(a)(1), the United States gives notice

to the defendants,

that upon conviction of an offense in violation of Title 18, United States Code, Section 1956, all
property, real or personal, involved in such offense or traceable to such property, is subject to

forfeiture.

MONEY JUDGMENT

Defendants are notified that upon conviction, the United States may seek the imposition of

a money judgment.

SUBSTITUTE ASSETS

In the event that one or more conditions listed in Title 21, United States Code, Section

853(p) exists, the United States will seck to forfeit any other property of the defendants up to the

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total value of the property subject to forfeiture.

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ORIGINAL SIGNATURE ON FILE
FOREPERSON OF THE GRAND JUKY

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